Case 1:05-mc-01008-.]DT-STA Document 6 Filed 08/23/05 Page 1 of 2 pPage|D 5

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSE?]ZE
EASTERN DIVISION ;,,,,`;§:j ~,

IN THE MATTER OF REGINA ASTON:
No. OS-MC-IOOS
ORDER SETTING NON-JURY HEARING
Regina Aston appeared in this court on August 19, 2005, after her arrest upon a
Warrant issued When Ms. Aston failed to appear in compliance With a subpoena in the trial of

U.S. vs. Seraiin et al, No. 03-CR-10104. Ms. Aston Was ordered to show cause Why she

 

should not be held in contempt for failure to obey the subpoena

At that hearing the question arose as to Whether defendant Was entitled to a trial by j ury
on the order to show cause Why she should not be held in contempt The court took the
matter under advisement and reset the hearing on the order to show cause for Friday, August
26, 2005.

After researching the matter, the court concludes that Ms. Aston is not entitled to a trial
by jury. Therefore, the hearing on August 26, 2005, as to Whether Ms. Aston has shown
cause Why she should not be held in contempt Will be heard by the court sittingr Without a jury.

IT IS SO ORDERED.

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JA s 15. TODD
IrEr) srArEs DlsrRIcr JUDGE

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DATE

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Honorable .l ames Todd
US DISTRICT COURT

